
271 S.E.2d 908 (1980)
Nannie Ruth GREENHILL, Individually and as Administratrix of the Estate of William Norwood Crabtree
v.
Lanie N. CRABTREE, Executrix of the Estate of Raymond E. Crabtree, Lanie N. Crabtree and Richard S. Crabtree.
No. 18.
Supreme Court of North Carolina.
December 2, 1980.
*909 McCain &amp; Moore by Grover C. McCain, Jr., Archbell &amp; Cotter by James B. Archbell, Durham, for plaintiff.
Frank B. Jackson for defendant.
PER CURIAM.
Justice Brock did not participate in the consideration or decision of this case. The remaining six Justices are equally divided as to whether Judge McKinnon erred in denying plaintiff's motion to set aside the notice of dismissal filed 22 September 1977 by William Blue "for the reason that said dismissal was filed without any authority, express or implied, from the plaintiff, or anyone representing the plaintiff." In accordance with the usual practice and long established rule, this equal division requires that the opinion of the Court of Appeals be affirmed without precedential value. State v. Green, 298 N.C. 268, 258 S.E.2d 71 (1979); Townsend v. Railway Co., 296 N.C. 246, 249 S.E.2d 801 (1978); State v. Johnson, 286 N.C. 331, 210 S.E.2d 260 (1974).
It is so ordered.
AFFIRMED.
BROCK, J., did not participate in the consideration or decision of this case.
